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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On October 6, 2023, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On October 6, 2023, I caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit

A.

         On October 6, 2023, I also caused a true and correct copy of the following documents to

be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit B:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


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   NOTICE OF HEARING ON THE REQUEST OF THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS FOR A STATUS CONFERENCE REGARDING THE
    DISCLOSURE BY INTERSTATE FIRE & CASUALTY COMPANY, NATIONAL
    SURETY CORPORATION, AND FIREMAN’S FUND INSURANCE COMPANY OF
    SURVIVOR PERSONAL INFORMATION FROM PROOFS OF CLAIM TO THIRD
    PARTIES AND ATTACHMENT

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated: October 6, 2023



                                                      /s/ Janice G. Washington
                                                         Janice G. Washington




                                                 2
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                                        EXHIBIT A

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                                        EXHIBIT B

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